Case 3:21-cr-00155-DJH-RSE          Document 301-8        Filed 01/13/25      Page 1 of 2 PageID
                                          #: 2339




 John F. Timm

 Louisville, KY 402




 The Honorable David J. Hale
 United States District Judge for the Western District of Kentucky
 601 West Broadway
 Louisville, KY 40202

 4 January, 2025

 To Whom it May Concern:

 I have come to know Josh White primarily through our work in neighborhood projects and his
 campaign for city council several years ago. I believe I have known him between ten and fifteen
 years. I am aware of the charges against Josh and his plea.

 I believe my work as a chronic pain physical therapist of thirty years, dealing with people of
 every background, many of whom are at a low point in their lives or struggling with addiction,
 has made it easier for me to get to know people and come to assess their resilience and other
 personal qualities. I have been fortunate to get to know Josh and have only known him to be a
 strong example of a thoughtful and caring citizen.

 Josh and I first worked together with neighbors planting trees. He is quite passionate about
 improving the health of our city, which he knows is closely related to our health as citizens. I
 remember that one of my first impressions of him as we broke into groups was that he was very
 passionate about doing the work properly so that the trees had the best possible chance of
 survival, and also that those who were to be learning leadership skills, like one boy from scouts
 who was meeting a leadership requirement, had a chance to step up and lead and delegate. I
 remember also that he spoke aloud about the two-deep rule for adults riding in cars with the
 middle school and high school kids. He was respectful with the other adults present but very
 clear about this safety rule that requires two adults to always be present with any minors. As a
 parent of two daughters who were in youth group and a boy scout, I am familiar with this policy
 and I remember being reassured that day, since it wasn’t a group I had worked with before. It
 was a mix of high school girls, including some from an all-girls school and I am a man who pays
 attention to not being alone with someone else’s daughter as well. I also remember that Josh
 shared his excitement that some of the scouts he knows showed some of the trees from past
 years to friends of theirs, and that it was a rewarding job to plant trees and watch them grow.
 He talked about one young man who drove a date around the neighborhood showing her the
 trees he had helped plant, and we all smiled about it. During the pre-planting process, he and I
 had spoken to one of my elderly neighbors who was hesitant to have more yard work at age 85.
Case 3:21-cr-00155-DJH-RSE            Document 301-8         Filed 01/13/25      Page 2 of 2 PageID
                                            #: 2340



 Josh was able to help him understand that the trees aren’t really for us, and assured him that
 the trees wouldn’t require much for at least ten years. This also made a strong impression on
 me. Many of the people who will benefit from the beautiful old trees of our neighborhood fifty
 years from now will have no idea how hard Josh worked to drive out to the nursery, carry dirt,
 dig holes and coordinate the work it takes to plant (now more than 1,000) trees, and Josh knows
 this.

 My family hosted a meet and greet event for Josh when he was campaigning for city council. I
 asked Josh if I could host the meeting because I wanted to support his campaign. He clearly
 wanted to make a difference in our community. I personally feel that city council is a challenging
 way to contribute and requires a lot of patience, and so I championed him doing it because I
 know his values to be for the good of the citizens on a wide range of issues. To me, his
 willingness to take on what can be a thankless job shows a strong character. Of course all
 elected positions come with controversy, and Josh was not afraid of this. He was very clear
 about his desire to do good for the community and was happy to debate where needed, mostly
 providing education, data, and his perspectives, to encourage people to join him in the various
 initiatives.

 I am presently engaged in building a small apartment building in our neighborhood. I am very
 excited about removing a lot of asphalt from a street corner (old treeless parking lot which would
 never be approved as such today) and being able to plant five large trees in addition to more
 than twenty small ones on the site with our new building and new parking area. I reached out to
 Josh and asked for his help with our landscape plan several months back. I would like to also
 mention that my children are now in college and I had not spoken to Josh for at least a couple of
 years, but that I did not hesitate to call and ask for his help with my project because of who he
 is. We reviewed the characteristics of so many species of trees. I had to take quick notes while
 he spoke about their unique qualities that made each one appropriate for the given soil,
 care/water available, sun exposure, space, etc. He clearly loves the trees for how they improve
 our lives, but also was just being supportive of me and educating me. We spent time talking
 about amending our site plan to further improve the usefulness of the side walk by moving it in
 from the street. Josh relayed a story to me about a small child tumbling off of her bicycle and
 landing too near the curb. He convinced me to have our architect re-draw our sidewalk,
 including additional plan review by the city, to protect little kids and their parents given the speed
 of the cars on that four-lane road. He was right. It will be better.

 Thank you for your consideration. Please allow Josh to return to his life and put this behind him.
 He has certainly learned whatever difficult lesson could be learned by this and would do well to
 be restored to his full capacity as soon as possible.

 Sincerely,

 John F. Timm
